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EXHIBIT P
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,

Plaintiff,

Vv.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-cv-00103-ART-CLB

EXHIBIT P - KEY TIMESTAMPS FROM VIDEO OF MARCH 20, 2024

INCIDENT (BATES NO. EX033)

Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P.

56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit P, which references key timestamps from a
video recorded on March 20, 2024, at the Carson City Sheriff's Office. The video captures
Sgt. TJ Boggan's actions, including detaining Plaintiff for recording, citing Marsy’s Law as the
basis for prohibiting recording in a public space. This exhibit highlights critical moments in the

video and underscores constitutional violations related to First and Fourth Amendment rights.

Key Timestamps and Legal Violations

PLEADING TITLE - 1

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Timestamp
00:00:00 —
00:00:02
00:00:03 —
00:00:05
00:04:31 —
00:04:35
00:05:30 —
00:05:32
00:05:52 —
00:05:56
00:06:02 —

00:06:02.875

Event

Plaintiff asks, “Am |

detained?”

Orders Plaintiff to “hang

out” and detains him.

Plaintiff identifies the

Marsy’s Law sign.

Plaintiff confirms he is

recording.

Cites NRS 171.1233..

Asserts Plaintiff is “not

allowed” to record.

Plaintiff argues Marsy’s

Document 44-8

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Legal Relevance

Initiates Fourth Amendment issue regarding

unlawful detention.

Unlawful detention without probable cause or

reasonable suspicion.

Misapplication of Marsy’s Law in a public space

violates First Amendment press protections.

Escalation based solely on First Amendment

activity—aunconstitutional.

Misuse of investigatory stop statute, no

reasonable suspicion for detention.

Marsy’s Law misapplied to suppress recording in

a public space, violating press rights.

Violation of press freedom under Nevada

00:09:08 —

Law conflicts with Constitution—Marsy’s Law cannot restrict
00:09:23

Nevada’s Art. 1, § 9. recording in public.

Plaintiff cites federal case Reference to federal precedents (e.g., Glik v.
00:09:49 —

law affirming public Cunniffe, Fordyce v. Seattle) confirming
00:09:55

recording rights. recording rights in public spaces,
Legal Claims Supported

PLEADING TITLE - 2

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I ¢ First Amendment (42 U.S.C. § 1983): Retaliation for recording in public, unlawful

restriction of press rights, misapplication of Marsy’s Law to prohibit First Amendment
, activity in a public space.

4

5 ¢ Fourth Amendment (42 U.S.C. § 1983): Unlawful detainment without reasonable

6 suspicion or probable cause, based solely on recording.

7 ¢ Monell Liability (42 U.S.C. § 1983): Systematic suppression of press activity and

8 violation of constitutional rights based on CCSO’s signage and enforcement of an
9 . * .
unconstitutional recording ban.
10
I!
12

13 !/Summary Judgment Purpose (Fed. R. Civ. P. 56)

15 || The video evidence clearly shows an unlawful detention based on First Amendment activity—

16 recording in a public space. No criminal activity was alleged, and Marsy’s Law was misapplied
17

to infringe upon press rights. This violation, coupled with the First and Fourth Amendment
18
9 violations, leaves no genuine dispute of material fact, entitling Plaintiff to summary judgment.
20
21
22 . .

Qualified Immunity Defeat
23
*4 || Defendants’ actions contravene clearly established rights under Pearson v. Callahan, 555 U.S.
25

223 (2009). The right to record in a public space is well-established (Glik v. Cunniffe, 655 F.3d
26
07 78, Ist Cir. 2011; Fordyce v. Seattle, 55 F.3d 436, 9th Cir. 1995). Defendants’ misuse of
28

PLEADING TITLE - 3

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! || Marsy’s Law to suppress recording activity clearly violates these rights, making any qualified

immunity defense untenable.

6 || Authentication

g |||, Drew J. Ribar, declare under penalty of perjury (28 U.S.C. § 1746) that these timestamps
9 || accurately reflect events in a video I recorded on March 20, 2024, at the Carson City Sheriff's

'0 | Office, Bates No. EX033.

12 || Dated: March 28, 2025

'S Wl is/ Drew J. Ribar
14
Drew J. Ribar
15
16 3480 Pershing Ln, Washoe Valley, NV 89704

17 || Tel: (775) 223-7899, Email: Const2Audit@email.com

PLEADING TITLE - 4

